               Exhibit HHH




Case 1:23-cv-00878-TDS-JEP   Document 124-61   Filed 05/09/25   Page 1 of 8
                                       Impact Report 2023




                               H__7IJllI
                                         \.




   YAK OF K~M/LIINC& FUll
  WORT .M IMMOLIRM VATFD


In a new era of restrictions, Democracy
North Carolina remained committed to
protecting the freedom to vote.

 Case 1:23-cv-00878-TDS-JEP   Document 124-61   Filed 05/09/25 DemNC_0000407
                                                                 Page 2 of 8
During the 2023 municipal elections, Democracy North Carolina
contacted over 250 provisional voters who needed to cure their ballots
due to issues related to Voter ID.

One caller reported that his mother, a 95-year -old voter who cast a
provisional ballot, was not offered an ID exception form after they had
misplaced their ID due to memory loss issues. The poll worker did not
inform the voter that they could obtain a free Voter ID from the county
board of elections.

"That's voter suppression," the voter's son shared. "We weren't told
about an exception form. Now they're penalizing her:'

Her son, who was assisting her while at the voting precinct, named a
glaring truth of how quickly our voter freedoms can be taken away and
how innocent voters have been penalized by the NCGA's unconstitution-
al and racially-motivated Voter ID law. This voter was denied her
fundamental right to vote due to a lost Voter ID and the lack of
guidance on available exceptions.

"Every time I turn around, the voting areas and precincts change,
leaving people like my mother in disarray... we need stability and
clarity, not just for my mother, but for every voter out there."


  Case 1:23-cv-00878-TDS-JEP   Document 124-61   Filed 05/09/25 DemNC_0000408
                                                                  Page 3 of 8
 Senate Bill 747 places unconstitutional burdens on the fundamental
 right to vote for North Carolinians. In collaboration with our partners
 the League of Women Voters of North Carolina and North Carolina
 Black Alliance, Democracy NC filed a lawsuit challenging "SB 747."




 SB 747 places the fate of a ballot cast using same-day registration on
 whether a single piece of mail reaches that voter.

 If that piece of mail goes undelivered — by accident, negligence, or oth-
 erwise — the voter's ballot is thrown out and their registration is can-
 celed, with no notice provided and no opportunity to be heard.

 Despite evidence that it would make voting more challenging for college
 students, the elderly, and rural voters, the North Carolina General
 Assembly overrode Governor Cooper's veto and enacted SB 747.

Learn more about how you can
become an Elections Advocate and
help protect democracy today!
 Head over to demnc.co/takeaction to find
 out more or visit ncvoter.org for the latest
 voter education and election information.              I-
                                                               action
Case 1:23-cv-00878-TDS-JEP   Document 124-61    Filed 05/09/25 DemNC_0000409
                                                                 Page 4 of 8
Democracy NC was founded on the principle that government should be
"of, by, and for the people," and 2023 marked a year when the freedom
to vote and the resolve of North Carolina voters were put to the test.

Despite our best efforts to fight anti-democratic legislation, the North
Carolina General Assembly enacted sweeping election laws that invited
mass confusion and created new obstacles to voting.

We were not deterred. Our Communications & Policy Teams created
educational voter resources to explain the new Voter ID requirements.
Regional Managing Organizers worked diligently to engage with local
voters across the state. Vote Protectors were sent to 6 counties on
Election Day — a first for Democracy NC during a municipal election
year. We also employed exit poll workers to interview voters and report
any challenges they experienced at the ballot box.

Our focus remains clear — supporting all North Carolinians to engage
in the electoral process and to cast their votes without fear or
confusion. In 2024, we will continue to tap into the strength of our
community-based advocates to organize and mobilize voters, provide
trusted nonpartisan voter information, and protect voter freedoms.

Thank you for believing in this movement!

With gratitude,
Greg Walker Wilson, Board Chair
Cheryl Carter, Co-Executive Director
Adrienne Kelly, Co-Executive Director




 Democracy NC is led by 24 full-time and part-time staff members who
 invest their time, energy, and resources in making this work possible.


  Case 1:23-cv-00878-TDS-JEP   Document 124-61   Filed 05/09/25 DemNC_0000410
                                                                  Page 5 of 8
              Operations



              Communications


       2% •Z1iii



     40%



     12%      Development




     Statewide        National       Individual
     Partners         Partners        Donors

 Be a champion of, by, and for the people!

 In 2023, we were proud to
 introduce the Democracy
 NC Giving Society, designed
 to engage and build our
 generous supporters across
 the state.

 democracync.org/donate



Case 1:23-cv-00878-TDS-JEP   Document 124-61   Filed 05/09/25 DemNC_0000411
                                                                Page 6 of 8
    Here's What We Did to Fight Back in 2023:




                                        8          —~'-
                                                       OPACKR~LA
                                                                   ~.
          '7      moo               -




Case 1:23-cv-00878-TDS-JEP   Document 124-61   Filed 05/09/25 DemNC_0000412
                                                                Page 7 of 8
Meet our 2023 Regional Managing Organizers:

                                                                        Democracy North
                                                                      Carolina is a statewide
                                                                          organization.

                                                                      Get involved today!
 Kamaria E. Lawrence     Linda Sutton         Sugelema Lynch
  Western Piedmont     Central Piedmont       Greater Triangle




                                                                                  I.
                                                                                          2023         ~;~g7




     Lucas Seijo       DeMonte Alford        Marques Thompson
        East             Southeast               Statewide


In partnership with Southern Coalition
                                                           2023 Election Protection Coalition
for Social Justice, You Can Vote, Disability               Canvass Monitoring Coverage
Rights North Carolina, Forward Justice,                                                    Coverage by # of
Blueprint NC, and other Election                                                    `
                                                                                            Organizations


Protection partners, numerous election                                               lb


advocates were deployed across 35
counties for the 2023 November                                    4
municipal election to observe the pre-
canvass and canvass monitoring process.



Case 1:23-cv-00878-TDS-JEP                Document 124-61        Filed 05/09/25 DemNC_0000413
                                                                                  Page 8 of 8
